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               IN THE UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF ARKANSAS
                        WESTERN DIVISION

UNITED STATES OF AMERICA                                             PLAINTIFF

v.                           No. 4:12-cr-109-DPM-1

RANDALL JASON HARRIS                                               DEFENDANT

                                    ORDER

      1. Harris moves prose for a sentence reduction under Johnson v. United

States, 135 S. Ct. 2551 (2015). Because Harris wasn't sentenced under the

Armed Career Criminal Act, Johnson doesn't affect his sentence.

      2. Harris also asks whether his advisory Guidelines range remains valid

post-Johnson. NQ 99. Harris' s base offense level under U.S.S.G. § 2K2.1 was a

24 because he had prior felony convictions for commercial burglary and a

qualifying drug offense. This area of the law is in flux. But at this point, there

is no Guidelines Amendment or case law that retroactively changes Harris' s

advisory range. His motion, NQ 99, is therefore denied.

      So Ordered.


                               D.P. Marshall Jr. ii
                               United States District Judge
